                                                  Case 15-17598-RAM                          Doc 1             Filed 04/27/15                     Page 1 of 22
B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                          Southern District of Florida                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Pujol, Michael                                                                                               Salazar, Betsy


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-8914                                                                                                  xxx-xx-1678
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  8020 SW 37 Ter                                                                                              8020 SW 37 Ter
  Miami, FL                                                                                                   Miami, FL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         33155                                                                                         33155
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Miami-Dade                                                                                                   Miami-Dade
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                                   Case 15-17598-RAM                      Doc 1        Filed 04/27/15                 Page 2 of 22
B1 (Official Form 1)(04/13)                                                                                                                                                Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Pujol, Michael
(This page must be completed and filed in every case)                                  Salazar, Betsy
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Southern District of Florida                           13-34470                             10/10/13
Location                                                                             Case Number:                                   Date Filed:
Where Filed: Southern District of Florida                                            12-29855                                        8/20/12
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                     Exhibit A                                                                                 Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Aubrey Rudd, Esq.                                  April 27, 2015
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Aubrey Rudd, Esq. 00885207

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                    Case 15-17598-RAM                         Doc 1        Filed 04/27/15               Page 3 of 22
B1 (Official Form 1)(04/13)                                                                                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Pujol, Michael
(This page must be completed and filed in every case)                                       Salazar, Betsy
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Michael Pujol                                                                    X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Michael Pujol

 X    /s/ Betsy Salazar                                                                        Printed Name of Foreign Representative
     Signature of Joint Debtor Betsy Salazar
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     April 27, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Aubrey Rudd, Esq.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Aubrey Rudd, Esq. 00885207                                                               debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Foreclosure Defense Team
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      2100 Coral Way, Suite 602
      Miami, FL 33145                                                                          Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                         Email: ruddlawgroup@gmail.com
      786-360-6733 Fax: 786-360-6735
     Telephone Number
     April 27, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                                    Case 15-17598-RAM                     Doc 1     Filed 04/27/15   Page 4 of 22



B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Southern District of Florida
            Michael Pujol
 In re      Betsy Salazar                                                                             Case No.
                                                                                  Debtor(s)           Chapter    13




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                 Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:           /s/ Michael Pujol
                                                                                      Michael Pujol
                                                       Date:         April 27, 2015




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Southern District of Florida
            Michael Pujol
 In re      Betsy Salazar                                                                             Case No.
                                                                                  Debtor(s)           Chapter    13




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                  Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:           /s/ Betsy Salazar
                                                                                      Betsy Salazar
                                                       Date:         April 27, 2015




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 B6D (Official Form 6D) (12/07)


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   In re         Michael Pujol,                                                                                                 Case No.
                 Betsy Salazar
                                                                                                                   ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                            C    Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                               O                                                               O    N   I
                                                            D    H          DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
           AND MAILING ADDRESS                              E                                                               T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                             B    W             NATURE OF LIEN, AND                          I    Q   U                       PORTION, IF
                                                            T    J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                               O                                                               G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                 C                 OF PROPERTY
                                                            R
                                                                                 SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxxxCA21                                              First Mortgage                                              E
                                                                                                                                 D
Creditor #: 1
Bank of America                                                      Investment Property
c/o Law Offices of Marshall Watson                                   54 SW 15 Terrace
1800 NW 49th Street, #120                                            Homestead, FL 33030
                                                                J
Fort Lauderdale, FL 33309

                                                                        Value $                             70,910.00                        233,623.00          162,713.00
Account No. xxxx2269                                                 Maintenance
Creditor #: 2
Puerta Del Sol HOA, Inc.                                             Investment Property
c/o Frank Perez-Siam, P.A.                                           54 SW 15 Terrace
7001 SW 87th Court                                                   Homestead, FL 33030
                                                                J
Miami, FL 33173

                                                                        Value $                             70,910.00                          4,250.00              4,250.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                         Subtotal
 0
_____ continuation sheets attached                                                                                                           237,873.00          166,963.00
                                                                                                                (Total of this page)
                                                                                                                          Total              237,873.00          166,963.00
                                                                                                (Report on Summary of Schedules)

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B6E (Official Form 6E) (4/13)


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  In re         Michael Pujol,                                                                                                     Case No.
                Betsy Salazar
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
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   In re         Michael Pujol,                                                                                          Case No.
                 Betsy Salazar
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxx0001                                                       Opened 12/01/07 Last Active 9/29/08                         T   T
                                                                                                                                                E
Creditor #: 1                                                                   Unsecured                                                       D

American Airlines Fcu
Pob 619001                                                                  W
Dallas, TX 75261

                                                                                                                                                                       1,146.00
Account No. xxxxxxxxx0001                                                       Opened 9/10/10 Last Active 1/07/13
Creditor #: 2                                                                   Unsecured
American Airlines Fcu
Pob 619001                                                                  H
Dallas, TX 75261

                                                                                                                                                                      Unknown
Account No. xxxxxxxxxxxx6028                                                    Opened 5/16/06 Last Active 12/22/08
Creditor #: 3                                                                   Credit Card
Aspire
Po Box 105555                                                               H
Atlanta, GA 30348

                                                                                                                                                                       1,860.00
Account No. xxxxxxxxxxxx1162                                                    Opened 10/13/06 Last Active 3/13/08
Creditor #: 4                                                                   Credit Card
Bank Of America
Po Box 982235                                                               H
El Paso, TX 79998

                                                                                                                                                                      Unknown

                                                                                                                                        Subtotal
 6
_____ continuation sheets attached                                                                                                                                     3,006.00
                                                                                                                              (Total of this page)




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   In re         Michael Pujol,                                                                                       Case No.
                 Betsy Salazar
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
                   MAILING ADDRESS                                      D   H                                                        N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                  T   I   P
                                                                        B                                                            I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.              G   I   E
                  (See instructions above.)                             R                                                            E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxx8375                                                           Opened 8/01/06 Last Active 8/24/12                       E
Creditor #: 5                                                                   Real Estate Mortgage                                     D

Bank of America
Attn: Correspondence                                                        H
Unit/CA6-919-02-41
Po Box 5170
Simi Valley, CA 93062                                                                                                                                       Unknown
Account No. xxxxxxxxxxxx6979                                                    Opened 9/17/04 Last Active 7/17/07
Creditor #: 6                                                                   Credit Card
Capital 1 Bank
Attn: Bankruptcy Dept.                                                      W
Po Box 30285
Salt Lake City, UT 84130
                                                                                                                                                            Unknown
Account No. xxxxxxxxxxxxx1001                                                   Opened 10/01/04 Last Active 8/15/05
Creditor #: 7
Capital One Auto Finance
3905 N Dallas Pkwy                                                          J
Plano, TX 75093

                                                                                                                                                            Unknown
Account No. xxxxxxxx6682                                                        Opened 11/01/00 Last Active 11/01/05
Creditor #: 8                                                                   Credit Card
Citi
CitiCard Credit Services/Centralized                                        W
Ban
Po Box 20363
Kansas City, MO 64195                                                                                                                                       Unknown
Account No. xxxxxx8860                                                          Opened 8/01/06 Last Active 8/31/13
Creditor #: 9
City Ntl Bk/Ocwen Loan Service
Attn: Bankruptcy                                                            H
P.O. Box 24738
West Palm Beach, FL 33416
                                                                                                                                                            Unknown

           1
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                                  0.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Michael Pujol,                                                                                       Case No.
                 Betsy Salazar
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                            E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxx9701                                                            Opened 7/01/10                                           E
Creditor #: 10                                                                  Collection Attorney Radiology Associates Of              D

Credit Management Lp                                                            South
4200 International Pkwy                                                     H
Carrollton, TX 75007

                                                                                                                                                            Unknown
Account No. xxxxxx0100                                                          Opened 4/01/07 Last Active 9/10/07
Creditor #: 11                                                                  Unsecured
Dade County Fcu
10900 North Kendall Drive                                                   H
Miami, FL 33176

                                                                                                                                                             9,748.00
Account No. xxxxxxxxx6920                                                       Opened 11/27/09 Last Active 5/31/10
Creditor #: 12                                                                  Charge Account
Dsnb Macys
Po Box 8218                                                                 W
Mason, OH 45040

                                                                                                                                                            Unknown
Account No. xxxxxx5703                                                          Opened 10/25/06 Last Active 6/24/08
Creditor #: 13
Eastern Cu
8045 N Wickham Road                                                         H
Melbourne, FL 32940

                                                                                                                                                            Unknown
Account No. xxxxxx5721                                                          Opened 10/25/06 Last Active 6/24/08
Creditor #: 14
Eastern Financial /Space Coast Credit
Un                                                                          H
Po Box 419001
Melbourne, FL 32941
                                                                                                                                                            Unknown

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Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             9,748.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Michael Pujol,                                                                                       Case No.
                 Betsy Salazar
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
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                  (See instructions above.)                             R                                                            E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxxxxxxxxx4627                                                    Opened 1/01/07 Last Active 5/01/08                       E
Creditor #: 15                                                                  Credit Card                                              D

Eastern Financial Fl C
3700 Lakeside Dr                                                            H
Miramar, FL 33027

                                                                                                                                                             2,441.00
Account No. xx1144                                                              Opened 3/01/10
Creditor #: 16                                                                  Collection Attorney Obstetric Gynecology Of
First Fed Credit & Col                                                          Ke
5821 Hollywood Blvd Ste                                                     W
Hollywood, FL 33021

                                                                                                                                                               689.00
Account No. xx2664                                                              Opened 4/01/09 Last Active 5/23/13
Creditor #: 17                                                                  Collection Attorney Urg. Care Physc. Of W.
First Fed Credit & Col                                                          Kenda
5821 Hollywood Blvd Ste                                                     H
Hollywood, FL 33021

                                                                                                                                                            Unknown
Account No. xx2665                                                              Opened 4/01/09 Last Active 5/23/13
Creditor #: 18                                                                  Collection Attorney Urg. Care Physc. Of W.
First Fed Credit & Col                                                          Kenda
5821 Hollywood Blvd Ste                                                     H
Hollywood, FL 33021

                                                                                                                                                            Unknown
Account No. xx0902                                                              Opened 7/01/08 Last Active 5/23/13
Creditor #: 19                                                                  Collection Attorney Urg. Care Physc. Of W.
First Fed Credit & Col                                                          Kenda
5821 Hollywood Blvd Ste                                                     H
Hollywood, FL 33021

                                                                                                                                                            Unknown

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Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             3,130.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Michael Pujol,                                                                                       Case No.
                 Betsy Salazar
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.              G   I   E
                  (See instructions above.)                             R                                                            E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xx1900                                                              Opened 4/01/09 Last Active 5/23/13                       E
Creditor #: 20                                                                  Collection Attorney Urg. Care Physc. Of W.               D

First Fed Credit & Col                                                          Kenda
5821 Hollywood Blvd Ste                                                     H
Hollywood, FL 33021

                                                                                                                                                            Unknown
Account No. xxxxxxxx6115                                                        Opened 10/12/06 Last Active 3/14/12
Creditor #: 21
GMAC
Po Box 105677                                                               H
Atlanta, GA 30348

                                                                                                                                                            Unknown
Account No. xxxxxxxxxxxx2465                                                    Opened 11/01/02 Last Active 5/26/04
Creditor #: 22                                                                  Charge Account
Goodyr/cbna
Po Box 6497                                                                 H
Sioux Falls, SD 57117

                                                                                                                                                            Unknown
Account No. xxxxxxxxxx8464                                                      Opened 12/01/05 Last Active 11/02/06
Creditor #: 23
HSBC Auto Finance / Santander
Santander Consumer USA                                                      J
Po Box 961245
Fort Worth, TX 76161
                                                                                                                                                            Unknown
Account No. xxxxxxxxxxxx3189                                                    Opened 1/04/07 Last Active 6/18/07
Creditor #: 24                                                                  Credit Card
Hsbc Bank
Po Box 30253                                                                H
Salt Lake City, UT 84130

                                                                                                                                                            Unknown

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Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Michael Pujol,                                                                                       Case No.
                 Betsy Salazar
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                       C   U   D
                   CREDITOR'S NAME,                                     O                                                            O   N   I
                   MAILING ADDRESS                                      D   H                                                        N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.              G   I   E
                  (See instructions above.)                             R                                                            E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No. xxxxxx8874                                                          Opened 6/01/09                                           E
Creditor #: 25                                                                  Factoring Company Account Citibank                       D

Midland Credit Mgmt In
8875 Aero Dr                                                                H
San Diego, CA 92123

                                                                                                                                                             1,241.00
Account No. xxxxxxxxxxxx7461                                                    Opened 12/15/00 Last Active 1/31/04
Creditor #: 26                                                                  Charge Account
Military Star
3911 S Walton Walker Blv                                                    H
Dallas, TX 75236

                                                                                                                                                            Unknown
Account No. xxxxxxx6175                                                         Opened 11/01/05 Last Active 10/31/06
Creditor #: 27
Nuvell Credt
5700 Crooks Rd Ste 301                                                      H
Troy, MI 48098

                                                                                                                                                            Unknown
Account No. xxxxxxxxxxxx6979                                                    Opened 3/01/08
Creditor #: 28                                                                  Factoring Company Account Capital One Bank
Portfolio Recovery                                                              Usa Na
Attn: Bankruptcy                                                            W
Po Box 41067
Norfolk, VA 23541
                                                                                                                                                               961.00
Account No. xxxxxxxxxxxx6227                                                    Opened 2/18/99 Last Active 4/27/07
Creditor #: 29                                                                  Charge Account
Sears/cbna
Po Box 6282                                                                 J
Sioux Falls, SD 57117

                                                                                                                                                            Unknown

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Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                             2,202.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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   In re         Michael Pujol,                                                                                            Case No.
                 Betsy Salazar
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                        B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxxxx5702                                                          Opened 9/01/05 Last Active 6/28/06                             E
Creditor #: 30                                                                  Unsecured                                                      D

Space Coast Credit Uni
8045 N Wickham Road                                                         H
Melbourne, FL 32940

                                                                                                                                                                  Unknown
Account No. xxxx8993                                                            Opened 7/01/96 Last Active 11/24/01
Creditor #: 31                                                                  Charge Account
Tnb - Target
Po Box 673                                                                  J
Minneapolis, MN 55440

                                                                                                                                                                  Unknown
Account No. xxxxxxxxxxxx0904                                                    Opened 9/24/04 Last Active 3/25/05
Creditor #: 32                                                                  Note Loan
Unibank
9795 South Dixie H                                                          W
Miami, FL 33156

                                                                                                                                                                  Unknown
Account No. xxxxxxxxxxxx0900                                                    Opened 9/03/00 Last Active 10/01/04
Creditor #: 33
Unibank
9795 South Dixie H                                                          W
Miami, FL 33156

                                                                                                                                                                  Unknown
Account No.




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Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                        0.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)                18,086.00


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  In re             Michael Pujol,                                                                              Case No.
                    Betsy Salazar
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




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                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Michael Pujol,                                                                          Case No.
                 Betsy Salazar
                                                                                               ,
                                                                               Debtors
                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Southern District of Florida
            Michael Pujol
 In re      Betsy Salazar                                                                                Case No.
                                                                                   Debtor(s)             Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                   DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of   22
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date April 27, 2015                                                   Signature   /s/ Michael Pujol
                                                                                   Michael Pujol
                                                                                   Debtor


 Date April 27, 2015                                                   Signature   /s/ Betsy Salazar
                                                                                   Betsy Salazar
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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            American Airlines Fcu
            Pob 619001
            Dallas, TX 75261


            Aspire
            Po Box 105555
            Atlanta, GA 30348


            Bank of America
            c/o Law Offices of Marshall Watson
            1800 NW 49th Street, #120
            Fort Lauderdale, FL 33309


            Bank Of America
            Po Box 982235
            El Paso, TX 79998


            Bank of America
            Attn: Correspondence Unit/CA6-919-02-41
            Po Box 5170
            Simi Valley, CA 93062


            Capital 1 Bank
            Attn: Bankruptcy Dept.
            Po Box 30285
            Salt Lake City, UT 84130


            Capital One Auto Finance
            3905 N Dallas Pkwy
            Plano, TX 75093


            Citi
            CitiCard Credit Services/Centralized Ban
            Po Box 20363
            Kansas City, MO 64195


            City Ntl Bk/Ocwen Loan Service
            Attn: Bankruptcy
            P.O. Box 24738
            West Palm Beach, FL 33416


            Credit Management Lp
            4200 International Pkwy
            Carrollton, TX 75007
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        Dade County Fcu
        10900 North Kendall Drive
        Miami, FL 33176


        Dsnb Macys
        Po Box 8218
        Mason, OH 45040


        Eastern Cu
        8045 N Wickham Road
        Melbourne, FL 32940


        Eastern Financial /Space Coast Credit Un
        Po Box 419001
        Melbourne, FL 32941


        Eastern Financial Fl C
        3700 Lakeside Dr
        Miramar, FL 33027


        First Fed Credit & Col
        5821 Hollywood Blvd Ste
        Hollywood, FL 33021


        G M A C
        Po Box 105677
        Atlanta, GA 30348


        Goodyr/cbna
        Po Box 6497
        Sioux Falls, SD 57117


        HSBC Auto Finance / Santander
        Santander Consumer USA
        Po Box 961245
        Fort Worth, TX 76161


        Hsbc Bank
        Po Box 30253
        Salt Lake City, UT 84130


        Midland Credit Mgmt In
        8875 Aero Dr
        San Diego, CA 92123
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        Military Star
        3911 S Walton Walker Blv
        Dallas, TX 75236


        Nuvell Credt
        5700 Crooks Rd Ste 301
        Troy, MI 48098


        Portfolio Recovery
        Attn: Bankruptcy
        Po Box 41067
        Norfolk, VA 23541


        Puerta Del Sol HOA, Inc.
        c/o Frank Perez-Siam, P.A.
        7001 SW 87th Court
        Miami, FL 33173


        Sears/cbna
        Po Box 6282
        Sioux Falls, SD 57117


        Space Coast Credit Uni
        8045 N Wickham Road
        Melbourne, FL 32940


        Tnb - Target
        Po Box 673
        Minneapolis, MN 55440


        Unibank
        9795 South Dixie H
        Miami, FL 33156
